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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

MARICELA CASTRO, individually and on behalf
of other employees similarly situated,

Plaintiffs,
Vv. Case No. 16-cv-08153

ALL ABOARD DINER, INC. and
NICK GIANACAKOS, individually,

Defendants.

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ORDER APPROVING SETTLEMENT

Upon the Parties’ Joint Motion for Court Approval of Settlement, the Court, having
reviewed the materials submitted by the parties and finding the settlement of this matter to be fair
and reasonable, hereby approves this settlement and dismisses this matter without prejudice and

without the assessment of costs, liquidated damages and/or attorneys’ fees against any party.
The Court further extends the dismissal of this case without prejudice entered on January
17, 2017, until twenty (20) days after the Court approves the parties’ settlement agreement or
, 2017. If no motion to reinstate is filed by that date, then the dismissal will
automatically convert to a dismissal with prejudice, will ail parties to bear his, her or its costs,

including attorney’s fees,

Dated: March _, 2017 ENTERED:

 

Edmond E. Chang
United States District Judge
